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    EXHIBIT D
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                           SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is entered into among the United

States of America, acting through the United States Department of Justice and on behalf

of the Department of Education (collectively the “United States”); the States of

California, Florida, Illinois, Indiana, and Minnesota (collectively the “Intervened

States”); the Commonwealth of Massachusetts, the Commonwealth of Kentucky, the

District of Columbia and the States of Montana, New Jersey, New Mexico, New York,

and Tennessee (collectively the “Non-Intervened States”); Education Management

Corporation and its subsidiaries and affiliates, including but not limited to Education

Management Holdings II LLC, Education Management II LLC, Education Finance III

LLC, the Argosy Education Group, Inc., Argosy University of California LLC, the Art

Institutes International II LLC, Brown Mackie Education II LLC, the Institute of Post-

Secondary Education, Inc., and South University LLC (collectively “EDMC”); and the

Relators as identified in Recital Paragraphs B through E of this Agreement (“Relators”)

(hereafter collectively referred to as “the Parties”), each through their authorized

representatives.

                                     RECITALS

       A.      Education Management Holdings II LLC, Education Management II LLC,

Education Finance III LLC, the Argosy Education Group, Inc., Argosy University of

California LLC, the Art Institutes International II LLC, Brown Mackie Education II LLC,

the Institute of Post-Secondary Education, Inc., and South University LLC are

subsidiaries of Education Management Corporation, a Pennsylvania corporation with its

principal place of business in the Commonwealth of Pennsylvania. EDMC operates
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proprietary institutions of higher education through over 100 ground campuses, and also

offers online education programs. EDMC operates under four primary school brand

names, including Argosy University, The Art Institutes, Brown Mackie College, and

South University. EDMC’s campuses are located throughout the United States, including

in each of the Intervened States, Pennsylvania, and Tennessee.          EDMC’s schools

participate in federal student financial assistance programs authorized pursuant to Title

IV of the Higher Education Act of 1965, as amended, 20 U.S.C. §§ 1070 et seq.

       B.      On April 5, 2007, Lynntoya Washington (“Relator Washington”) filed a

qui tam action in the United States District Court for the Western District of Pennsylvania

captioned United States of America ex rel. Lynntoya Washington v. Education

Management LLC et al., Civil Action No. 07-461, pursuant to the qui tam provisions of

the False Claims Act, 31 U.S.C. § 3730(b) (the “Washington Civil Action”). Relator

Washington subsequently filed a First Amended Complaint on October 29, 2007, and a

Second Amended Complaint on May 2, 2011. Relator Michael T. Mahoney (“Relator

Mahoney”) also filed suit pursuant to the qui tam provisions of the False Claims Act, and

joined in Relator Washington’s Second Amended Complaint.               The United States

intervened in the Washington Civil Action on April 29, 2011. The Intervened States

intervened in the Washington Civil Action on April 29, 2011 (California and Illinois),

May 27, 2011 (Florida), June 9, 2011 (Indiana), and September 22, 2011 (Minnesota).

The United States, California, Florida, Illinois and Indiana filed their Joint Complaint in

Intervention on August 8, 2011.       The State of Minnesota filed its Complaint in

Intervention on September 22, 2011. (The Joint Complaint in Intervention filed by the

United States, California, Florida, Illinois and Indiana, together with Minnesota’s



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Complaint in Intervention, are collectively referred to hereinafter as the “Complaints in

Intervention.”). The Commonwealth of Massachusetts, the States of Montana, New

Jersey, New Mexico, New York, Tennessee, and the District of Columbia were also

named as real parties in the action. The District of Columbia intervened in the action on

October 27, 2011 and its Complaint in Intervention was dismissed with prejudice by the

Court on May 11, 2012. The Commonwealth of Kentucky also moved to intervene in the

action on August 8, 2011. Kentucky’s Motion to Intervene was denied on October 24,

2011.

        C.       On January 28, 2010, Jason Sobek (“Relator Sobek”) filed a qui tam

action in the United States District Court for the Western District of Pennsylvania

captioned United States of America ex rel. Jason Sobek v. Education Management, LLC

et al., Civil Action No. 10-131, pursuant to the qui tam provisions of the False Claims

Act, 31 U.S.C. § 3730(b) (the “Sobek Civil Action”). Relator Sobek subsequently filed a

First Amended Complaint on June 8, 2010. The United States filed a Notice That it is

Not Intervening at This Time on February 9, 2012. Relator Sobek then filed a Second

Amended Complaint on February 10, 2012.

        D.      On May 6, 2011, Michael Laukaitis, Gregory Carter, and Oksana Hiser

filed a qui tam action in the United States District Court for the Western District of

Pennsylvania captioned United States of America ex rel. Michael Laukaitis, Gregory

Carter, and Oksana Hiser v. The Art Institute Online, Inc. and Education Management

Corporation, Civil Action No. 11-601, pursuant to the qui tam provisions of the False

Claims Act, 31 U.S.C. § 3730(b) (the “Laukaitis Civil Action”). Subsequently, a First

Amended Complaint was filed on May 1, 2012, a Second Amended Complaint was filed



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on March 1, 2013, and a Third Amended Complaint was filed on October 22, 2013.

Relators Garland Richie, Sean A. Lardo, Jack Boring, and Chanel Dennis (together, with

Relators Laukaitis, Carter, and Hiser, “Relator Laukaitis”) joined in the aforementioned

October 22, 2013 Third Amended Complaint. The United States filed a Notice That it is

Not Intervening at This Time on December 8, 2014.

       E.       On October 2, 2012, Dr. Mara Rainwater (“Relator Rainwater”) filed a qui

tam action in the United States District Court for the Middle District of Tennessee

captioned United States of America ex rel. Dr. Mara Rainwater v. Education

Management Corporation et al., Civil Action No. 12-1008, pursuant to the qui tam

provisions of the False Claims Act, 31 U.S.C. § 3730(b) (the “Rainwater Civil Action”).

The United States has not submitted an election decision in this case. (Collectively, the

four lawsuits described in Recital Paragraphs B-E will be referred to as the “Civil

Actions,” and the individuals referred to in Recital Paragraphs B-E collectively will be

referred to as the “Relators.”)

       F.       The United States and the Intervened States contend that they have certain

civil claims against EDMC for engaging in the conduct alleged in the Washington Civil

Action Complaints in Intervention. The United States additionally contends that it has

certain claims against EDMC for engaging in the conduct alleged in the Sobek Civil

Action Second Amended Complaint; the Laukaitis Civil Action Third Amended

Complaint; and the Rainwater Civil Action. The Commonwealth of Massachusetts and

the States of Montana, New Jersey, New Mexico, New York and Tennessee, through

Relators Washington and Mahoney, contend that they are the real parties in interest for

certain claims against EDMC for engaging in the conduct alleged in Relator



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Washington’s Second Amended Complaint. The District of Columbia contends that it

has certain claims against EDMC for engaging in the conduct alleged in its Complaint in

Intervention. The Commonwealth of Kentucky contends that it has certain claims against

EDMC for engaging in conduct alleged in its Complaint in Intervention, which was

attached as Exhibit 2 to its Motion to Intervene in the Washington Civil Action (The civil

claims described in Paragraph F constitute, and are collectively hereinafter referred to as,

the “Covered Conduct”).

       G.      The District of Columbia and the States and/or Commonwealths of

Alabama, Arizona, Arkansas, Colorado, Connecticut, Delaware, Florida, Georgia,

Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland,

Mississippi, Missouri, Montana, Nebraska, New Jersey, New Mexico, New York, North

Carolina, North Dakota, Ohio, Oregon, Pennsylvania, Rhode Island, South Dakota,

Tennessee, Utah, Vermont, Virginia, Washington, West Virginia, and Wyoming

(“Consumer Protection Consortium States”) also contend that each of them have certain

civil claims against EDMC.          The Consumer Protection Consortium States are

contemporaneously entering into separate settlement agreements with EDMC to resolve

the Consumer Protection Consortium States’ claims. Those agreements are hereinafter

referred to as the “Consumer Protection Consortium Agreements.”

       H.      This Agreement is neither an admission of liability by the EDMC

Releasees (hereinafter defined) nor a concession by the United States or the Intervened

States or the Non-Intervened States that their claims are not well founded.




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         I.       Relators claim entitlement under 31 U.S.C. § 3730(d) to a share of the

proceeds of this Agreement and to Relators’ reasonable expenses, attorneys’ fees and

costs.

         To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of the above claims, and in consideration of the mutual promises and

obligations of this Agreement, the Parties agree and covenant as follows:




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                              TERMS AND CONDITIONS

       1.      EDMC shall pay to the United States $95,500,000 (Ninety-Five and a Half

 Million Dollars (“Settlement Amount”). On the Effective Date of this Agreement, this

 sum shall constitute a debt due and immediately owing collectively to the United

 States, the Intervened States and the Non-Intervened States. The Settlement Amount

 shall be paid as follows:

       a.      EDMC shall pay to the United States the Settlement Amount in

accordance with the payment schedule attached hereto as Exhibit A. Within fourteen

(14) business days after the Effective Date of this Agreement, EDMC shall pay the

United States the initial payment in the amount of $45,500,000 (Forty-Five and a Half

Million Dollars) and thereafter make payments according to the schedule in Exhibit A.

All payments shall be made to the United States by electronic funds transfer pursuant to

written instructions to be provided by the United States Attorney’s Office for the Western

District of Pennsylvania.    The entire balance of the face amount of the Settlement

Amount, or any portion thereof, may be prepaid without penalty.

       b.      If EDMC sells or otherwise transfers to an unaffiliated third party all or

substantially all of the assets or operations of one or more of its subsidiaries, divisions,

campuses, or school brands (including but not limited to Argosy University, The Art

Institutes, Brown Mackie College, or South University), EDMC shall give the United

States notice within seven (7) days of the execution of a definitive sales agreement, and

payment of the remaining unpaid balance of the Settlement Amount shall be accelerated

as follows:   (i) If EDMC or substantially all of EDMC’s assets or operations is sold or

otherwise transferred to an unaffiliated third party, the remaining unpaid balance of the



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Settlement Amount shall become accelerated and due and payable within ten (10)

business days of the Receipt of Proceeds (as hereinafter defined) by EDMC from the sale

or transfer; (ii) If EDMC sells or otherwise transfers to an unaffiliated third party all or

substantially all of the assets or operations of a particular subsidiary, division, school

brand, or campus, a percentage of the remaining settlement balance that is equal to any

such subsidiary, division, school brand, or campus’s percentage of EDMC’s net revenue

for the previous fiscal year or the average of the three previous fiscal years, whichever is

higher (“Accelerated Percentage”) shall become accelerated and due and payable within

ten (10) business days of the Receipt of Proceeds by EDMC from the sale or transfer.

For purposes of Paragraph 1.b., “Receipt of Proceeds” means the receipt of cash proceeds

by EDMC from a sale or transfer subject to Paragraph 1.b. Exclusively for the purposes

of clarification, in the event that EDMC agrees to an “earn-out” provision or receives a

note or other security in connection with a sale or transfer, the payment of the accelerated

amount related to such earn-out provision or security, if any, shall not be payable by

EDMC until receipt of cash proceeds by EDMC from such earn-out provision or security.

There shall be no acceleration of the Settlement Amount pursuant to this Paragraph in the

event that a sale or transfer to an unaffiliated third party involves a sale or transfer

involving gross proceeds of less than $1,500,000. Following payment of the Accelerated

Percentage, the accelerated amount shall be applied to the final scheduled payment or

payments set forth in Exhibit A that are still owed at the time of the acceleration.




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       c.      The Settlement Amount is allocated among the matters being settled as

follows:

                  Washington Civil Action (total):                         $80,375,000

                  Washington Civil Action (United States)                  $47,625,000

                  Washington Civil Action (Intervened States)              $13,750,000

                  Washington Civil Action (Non-Intervened States)          $500,000

                  Sobek Civil Action:                                      $3,250,000

                  Laukaitis Civil Action:                                  $1,675,000

                  Rainwater Civil Action:                                  $1,450,000

                  Consumer Protection Consortium States                    $8,750,000

Each payment (“Specific Installment Payment”) shall be made to the United States as

provided in Exhibit A. EDMC has no responsibility for the distribution of such payments

to other parties, as provided for in this agreement. Subject to Paragraphs 2 and 3 of this

Agreement, funds paid to the Intervened States and the Non-Intervened States may be

used or expended in any way permitted by applicable state law at each State’s individual

discretion.

       2.      Conditioned upon the United States receiving the Settlement Amount

payments, the United States agrees that it shall pay to Relators as soon as feasible after

receipt of the payment by electronic funds transfer the amounts set forth in Exhibit B as

their shares of the proceeds pursuant to 31 U.S.C. § 3730(d) (the “Relators’ Share”),

pursuant to written instructions to be provided to the United States Attorney’s Office for

the Western District of Pennsylvania by each Relator’s counsel. The Relators expressly

understand and agree that the United States and/or the Intervened States and/or the Non-



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Intervened States are only liable to the Relators for funds actually received or collected

by the United States from any source being used to fund EDMC’s obligations under this

settlement agreement.

       3.      The Parties have allocated $19,875,000 of the Settlement Amount as

expenses, and attorneys’ fees and costs (the “Attorneys’ Fees and Costs Settlement

Amount”).    Conditioned upon the United States receiving the Settlement Amount

payments, the United States agrees that it shall pay to Relators and/or Relators’ counsel

as soon as feasible after receipt of the payment by electronic funds the amounts set forth

in Exhibit C as their portion of the Attorneys’ Fees and Costs Settlement Amount,

pursuant to written instructions to be provided to the United States Attorney’s Office for

the Western District of Pennsylvania by each Relator’s counsel.        The Relators and

Relators’ counsel expressly understand and agree that the United States and/or the

Intervened States and/or the Non-Intervened States are only liable to the Relators and/or

Relators’ counsel for funds actually received or collected by the United States from any

source being used to fund EDMC’s obligations under this settlement agreement.

       4.      In the event that EDMC informs the United States in writing, at least

seven (7) calendar days in advance of the date upon which a Specific Installment

Payment called for in Exhibit A, as set forth in Paragraph 1, is due, that EDMC will not

timely pay the full amount of the Specific Installment Payment (“Future Missed

Payment”), EDMC agrees that for purposes of this Agreement, the Future Missed

Payment will constitute liabilities owing to the Secretary arising from acts or omissions

of the Institution, and that the Department of Education may draw on any letter of credit

it may possess from EDMC to secure the amount owing on behalf of the United States,



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the Intervened States, and the Non-Intervened States, including payment of appropriate

Relators’ shares. If a Future Missed Payment is resolved through such a draw on a letter

of credit, the Future Missed Payment shall be treated as if it was timely paid in full by

EDMC.

       5.      In the event that EDMC fails to pay any part of the Settlement Amount as

called for in Exhibit A, as set forth in Paragraph 1, within fourteen (14) calendar days of

the date upon which each such Specific Installment Payment is due, EDMC shall be in

default of its payment obligations (“Default”). The United States will provide a written

Notice of Default, and EDMC shall have an opportunity to cure such Default within

fourteen (14) calendar days from the date of receipt of the Notice of Default. Notice of

Default will be delivered to the attention of the Chief Financial Officer with a copy to the

General Counsel, Education Management Corporation, 210 Sixth Avenue, Pittsburgh, PA

15222, or to such other representative as EDMC shall designate in advance in writing. If

EDMC fails to cure the Default within fourteen (14) calendar days of receiving the

Notice of Default (“Uncured Default”), then the remaining unpaid balance of the

Settlement Amount shall become accelerated and immediately due and payable, and the

United States and/or the Intervened States and/or the Non-Intervened States may exercise

the following options:

       a.      EDMC shall upon execution of this Agreement enter into a Consent

Judgment in the form attached as Exhibit D, which may be filed in the United States

District Court for the Western District of Pennsylvania by the United States and/or the

Intervened States and/or the Non-Intervened States as provided in Paragraph 5.b.

       b.      EDMC agrees that in the event of an Uncured Default:



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           (1) For purposes of this Agreement, such Uncured Default will

    constitute liabilities owing to the Secretary arising from acts or omissions

    of the Institution, and that the Department of Education may draw on any

    letter of credit it may possess from EDMC to secure the amount owing on

    behalf of the United States, the Intervened States, and the Non-Intervened

    States, including payment of appropriate Relators’ shares.

           (2) The United States and/or the Intervened States and/or the Non-

    Intervened States may exercise any other rights granted by law or in equity

    to collect the remaining unpaid balance of the Settlement Amount,

    including the option of filing and executing on the Consent Judgment

    described in Paragraph 5.a. above, and/or referring the matter for private

    collection. EDMC agrees not to contest any action undertaken by the

    United States and/or the Intervened States and/or the Non-Intervened

    States pursuant to this Paragraph, except on the grounds of actual payment

    to the United States.

           (3) The United States and/or the Intervened States and/or the Non-

    Intervened States may, at their discretion, accept late payment of a

    Specific Installment Payment without penalty and deem the Default cured;

    acceptance of any late payment creates no obligation to accept any future

    late payment.

           (4) The United States and/or the Intervened States and/or the Non-

    Intervened States may rescind this Agreement and pursue the Civil

    Actions or bring any civil and/or administrative claim, action, or



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    proceeding against EDMC for the claims that would otherwise be covered

    by the releases provided in Paragraphs 12 and 13, below. In the event that

    the United States and/or the Intervened States and/or the Non-Intervened

    States opt to rescind this Agreement (“Rescinding Parties”) pursuant to

    this Paragraph: (a) EDMC agrees not to plead, argue, or otherwise raise

    any defenses of statute of limitations, laches, estoppel or similar theories,

    to any civil or administrative claims that are (i) filed by the Rescinding

    Parties against EDMC within 120 days of written notification that this

    Agreement has been rescinded, and (ii) relate to the Covered Conduct,

    except to the extent these defenses were available on the particular date

    when each Civil Action referenced in Recital Paragraphs B-E was filed;

    (b) EDMC shall have no obligation to make further settlement payments

    to the Rescinding Parties. The further amounts due to the Rescinding

    Parties shall be deducted from amounts otherwise due from EDMC under

    Exhibit A; (c) EDMC shall be entitled to an offset against any monies

    ultimately received by the Rescinding Parties for Settlement Payments

    previously received by the Rescinding Parties before the notice of

    rescission; (d) Any release given by EDMC and the Rescinding Parties to

    each other shall be of no force and effect; (e) An election by the United

    States and/or the Intervened States and/or the Non-Intervened States to file

    a civil action under this Paragraph shall be without prejudice to the rights

    of the Relators under 31 U.S.C. § 3730(d), and nothing in this Paragraph

    shall be construed to create, modify, or extinguish any right that Relators



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              may have under law to enforce this agreement in the event of a default by

              EDMC. Nothing in this Paragraph shall in any way impact the rights and

              obligations of the United States and/or the Intervened States and/or the

              Non-Intervened States who are not Rescinding Parties. The process for

              recission set forth in this Paragraph 5.b(4) shall also apply to a recission

              pursuant to Paragraph 18 and/or 25.

       6.     The parties agree that $8,750,000 of the Settlement Amount is being

allocated in furtherance of costs associated with enforcement provisions set forth within

the Consumer Protection Consortium Agreements, including the appointment of an

Administrator to oversee compliance, as well as the procurement of a telephone/voice

analytic system to assist in monitoring such compliance. As recognized in the Consumer

Protection Consortium Agreements, the United States, the Intervened States and the Non-

Intervened States shall have the right to: (a) refer complaints concerning EDMC to the

Administrator, as set forth in the Consumer Protection Consortium Agreements; and (b)

receive and use any and all reports or other information provided by the Administrator to

the Attorneys General. Nothing in this Paragraph shall limit the capacity of the United

States and/or Intervened States and/or Non-Intervened States to take any action permitted

by statute, regulation, or common law.

       7.     EDMC shall comply with the Incentive Compensation Ban, Section

487(a)(20) of Title IV of the Higher Education Act, 20 U.S.C. § 1094(a)(20); the

Incentive Compensation Ban’s implementing regulations, 34 C.F.R. § 668.14(b)(22); and

the terms of EDMC’s Program Participation Agreements with the United States




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Department of Education, and equivalent State Agreements, concerning the Incentive

Compensation Ban and its implementing regulations.

          8.   EDMC shall not falsely or fraudulently represent or certify, either

expressly or impliedly, that it is in compliance with the Incentive Compensation Ban (20

U.S.C. § 1094(a)(20)); its implementing regulations (34 C.F.R. § 668.14(b)(22)); or

EDMC’s Program Participation Agreements with the United States Department of

Education, and equivalent State Agreements, including but not limited to, when EDMC:

(a) Establishes or verifies its eligibility to participate in the United States’, Intervened

States’, or Non-Intervened States’ student financial aid programs; (b) Enters into a

Program Participation Agreement with the United States Department of Education; (c)

Enters into an Institutional Participation Agreement with the Intervened States’ or Non-

Intervened States’ respective Offices of Higher Education; or (d) Presents, or causes

another to present, claims for the payment or approval of student financial aid funds to an

officer or employee of the United States, the Intervened States, or the Non-Intervened

States.

          9.   EDMC shall comply in all respects with the California False Claims Act,

Cal. Gov’t Code § 12650 et seq., the Florida False Claims Act, Stat. § 68.082(2), the

Illinois False Claims Act, 740 ILCS 175/1 et seq., the Indiana False Claims Act, Ind.

Code § 5-11-5.5-1 et seq., the Minnesota False Claims Act, Minnesota Statutes Chapter

15C et seq., Massachusetts’ False Claims Act, Mass Gen Law c. 12 sec. 5A et seq., the

District of Columbia’s False Claims Act, D.C. Code § 2-381.01 et seq., Montana’s False

Claims Act, Mont. Code Ann. 17-8-401, et seq., New Jersey’s False Claims Act, N.J.S.A.

2A:32C-1 et seq., New Mexico’s False Claims Act, N.M Stat Ann. Sections 44-9-1 to 44-



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9-14, New York’s False Claims Act, New York State Finance Law §§ 187, et seq. (2015),

and Tennessee’s False Claims Act, Tenn. Code Ann. § 4-18-101, et seq., when

participating as an “eligible institution” in the Intervened States’ or Non-Intervened

States’ student financial aid programs.

       10.     EDMC’s obligation to comply with the particular laws specified in

Paragraphs 7, 8, and 9 above shall have no effect on any obligations EDMC may have to

comply with other federal and state laws not specified above.

       11.     If EDMC fails to comply with any of the obligations set forth in

Paragraphs 7, 8, or 9 above, such a failure shall not constitute a Default for purposes of

Paragraph 5 of this Agreement, nor otherwise constitute a breach of this Agreement. Any

remedies for such violations are limited to the remedies provided by the applicable laws

and/or regulations. Nothing in this Paragraph shall limit the capacity of the United States

and/or the Intervened States and/or Non-Intervened States to take any action permitted by

statute, regulation, and/or common law.

       12.     Subject to the exceptions in Paragraph 15 below (concerning excluded

claims), and conditioned upon EDMC’s full payment of the Settlement Amount, and

subject to Paragraph 25 below (concerning bankruptcy proceedings commenced within

91 days of the Effective Date of this Agreement or any payment made under this

Agreement):

       a.      The United States and the States of Florida and Indiana release EDMC,

together with its current and former parent corporations; direct and indirect subsidiaries;

brother or sister corporations; divisions; current or former owners; and officers, directors,

insurers and affiliates; and the successors and assigns of any of them (collectively,



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including EDMC, the “EDMC Releasees”) from any civil or administrative monetary

claim the United States and/or the States of Florida and Indiana have for the Covered

Conduct under the False Claims Act, 31 U.S.C. §§ 3729-3733 and the equivalents to the

False Claims Act for the States of Florida and Indiana; the Program Fraud Civil

Remedies Act, 31 U.S.C. §§ 3801-3812; Title IV of the Higher Education Act of 1965 as

amended, 20 U.S.C. §§ 1070 et seq.; Fla. Stat. Ch. 501.201-501.213; Ind. Code 24-5-.05-

1 – 24-5-.05-12; or the common law theories of payment by mistake, unjust enrichment,

and/or fraud.

       b.       The State of California, by and through the Office of the Attorney General

of the State of California, releases the EDMC Releasees from any civil or administrative

monetary claim the State of California has for the Covered Conduct under the California

False Claims Act, California Government Code §§ 12650-12656 or the common law

theory of unjust enrichment. The Attorney General of the State of California executes

this release in her official capacity and releases only the claims that the California

Attorney General has the authority to release.

       c.       The State of Illinois, by and through the Office of the Attorney General of

the State of Illinois, releases the EDMC Releasees from any civil or administrative

monetary claim the State of Illinois has for the Covered Conduct under the Illinois False

Claims Act, 740 ILCS 15/1 et seq., the Illinois Whistleblower Reward and Protection

Act, 740 ILCS 175/1 et seq., or the common law theories of payment by mistake of fact

and unjust enrichment.

       d.       The State of Minnesota, by and through the Office of the Attorney

General, releases the EDMC Releasees from any civil or administrative monetary claim



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the State of Minnesota has for the Covered Conduct under the Minnesota False Claims

Act, Minnesota Statutes Chapter 15C et seq. or the common law theory of unjust

enrichment. The Attorney General of the State of Minnesota releases only the claims that

the Minnesota Attorney General has the authority to release.

       e.      The Commonwealth of Kentucky, the District of Columbia and the States

of Montana, New Jersey, New Mexico, New York, and Tennessee release the EDMC

Releasees from any civil or administrative monetary claims the Non-Intervened States

have for the Covered Conduct under the Kentucky Consumer Protection Act, KSR

367.110, et seq., the District of Columbia’s False Claims Act, D.C. Code § 2-381.01 et

seq., Montana’s False Claims Act, Mont. Code Ann. 17-8-401, et seq., New Jersey’s

False Claims Act, N.J.S.A. 2A:32C-1 et seq., New Mexico’s False Claims Act, N.M Stat

Ann. Sections 44-9-1 to 44-9-14, New York’s False Claims Act, New York State Finance

Law §§ 187, et seq. (2015), and Tennessee’s False Claims Act, Tenn. Code Ann. § 4-18-

101, et seq.

       f.      The Commonwealth of Massachusetts, by and through the Office of the

Attorney General, releases the EDMC Releasees from any civil or administrative

monetary claim the Attorney General of the Commonwealth of Massachusetts has for the

Covered Conduct under the Massachusetts False Claims Act, Mass Gen Law c. 12 sec.

5A et seq. The Attorney General of the Commonwealth of Massachusetts executes this

release in her official capacity and releases only the claims that the Massachusetts

Attorney General has the authority to release.

       13.     The United States Department of Education agrees that this Agreement

and/or the Covered Conduct do not constitute a basis for: (a) asserting that EDMC lacks



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administrative capability under 34 C.F.R. § 668.16; (b) asserting that EDMC lacks

financial responsibility under 34 C.F.R. § 668.17(a);      (c) asserting any finding of

noncompliance by EDMC with any Title IV program statute or regulation, including but

not limited to the rules and requirements set forth in 34 C.F.R. Part 600 or Part 668, in

any pending program review or audit report or in any pending final program review

determination or final audit determination, except for any issues from any United States

Department of Education open program review or unresolved final program review

determination concerning the Jeanne Clery Disclosure of Campus Security Policy and

Campus Crime Statistics Act; (d) placing or maintaining EDMC under a provisional

certification to participate in Title IV Programs;        (e) placing EDMC on the

reimbursement method of receiving Title IV Program funds;          (f) instituting a fine,

limitation, suspension, or termination proceeding against EDMC under 34 C.F.R Part

668, Subpart G; or (g) instituting, directing, or maintaining any other administrative

action or asserting that the Settlement Agreement fails to satisfactorily resolve any

alleged compliance issues related to the Covered Conduct. Accordingly, subject to the

exceptions in Paragraph 15 below (concerning excluded claims), and conditioned upon

EDMC’s full payment of the Settlement Amount, and subject to Paragraph 25 below

(concerning bankruptcy proceedings commenced within 91 days of the Effective Date of

this Agreement or any payment made under this Agreement), the United States

Department of Education releases the EDMC Releasees from each of the foregoing

claims, actions, and items enumerated as (a) through (g) in this Paragraph to the extent

that any such items would be or could be asserted based upon or in connection with the

Covered Conduct or this Agreement.



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       14.     Subject to the exceptions in Paragraph 15 below (concerning excluded

claims), and conditioned upon EDMC’s full payment of the Settlement Amount, and

subject to Paragraph 25 below (concerning bankruptcy proceedings commenced within

91 days of the Effective Date of this Agreement or any payment made under this

Agreement), Relators, for themselves and for their heirs, successors, attorneys, agents,

and assigns, release the EDMC Releasees from any civil monetary claim the Relators

have: (a) on behalf of the United States for the Covered Conduct under the False Claims

Act, 31 U.S.C. §§ 3729-3733; (b) on behalf of the Intervened States and Non-Intervened

States for the Covered Conduct under the Intervened States’ and Non-Intervened States’

equivalents to the False Claims Act; (c) on behalf of any state, city or political or

administrative entity for the Covered Conduct under applicable equivalents to the False

Claims Act; and (d) for themselves and for their heirs, successors, attorneys, agents, and

assigns, fully and finally release the EDMC Releasees from any liability, claims,

demands, actions, or causes of action whatsoever existing as of the Effective Date of this

Agreement, whether known or unknown, fixed or contingent, in law or in equity, in

contract or tort, of any kind or character, for damages, statutory penalties, equitable relief

or otherwise, including attorneys’ fees, costs, and expenses of every kind and however

denominated, that Relators would have standing to bring against them, or any of them.

       15.     Notwithstanding the releases given in Paragraphs 12, 13, and 14 of this

Agreement, or any other term of this Agreement, the following claims are specifically

reserved and are not released:

       a.      Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

       b.      Any liability arising under state tax codes, laws or regulations;



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       c.      Any criminal liability;

       d.      Any liability arising under state securities or antitrust codes, laws or

regulations;

       e.      Any liability arising under state environmental codes, laws or regulations;

       f.      Except as explicitly stated in this Agreement, any administrative liability

or action, including the suspension and debarment rights of any federal, state or local

agency, and any issues from any open United States Department of Education program

review or unresolved final program review determination concerning the Jeanne Clery

Disclosure of Campus Security Policy and Campus Crime Statistics Act;

       g.      Any liability for any conduct other than the Covered Conduct;

       h.      Any liability based upon obligations created by this Agreement;

       i.      Any liability of individuals, not addressed herein;

       j.      Any private right of action, including but not limited to private causes of

action, claims or remedies provided for under Minn. Stat. 8.31;

       k.      Any liability for property damage;

       l.      Any liability arising under California’s Business & Professions Code §§

17200 et seq. (Unfair Competition Law), §§ 17500 et seq. (False Advertising Law),

including without limitation any and all actions brought under the Unfair Competition

Law's unlawful prong for violation of any federal or state statute or regulation;

       m.      Any and all claims the Minnesota Attorney General may have against the

EDMC Releasees pursuant to Minn. Stat. §§ 325F.67 et seq. (False Statement in

Advertisement); 325F.69 et seq. (Minnesota Prevention of Consumer Fraud Act);

325D.44 et seq. (Uniform Deceptive Trade Practices Act); and 8.31 et seq.



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       16.     Relators and their heirs, successors, attorneys, agents, and assigns shall not

object to this Agreement but agree and confirm that this Agreement is fair, adequate, and

reasonable under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B).

Conditioned upon Relators’ receipt of the payments described in Paragraph 2, Relators

and their heirs, successors, attorneys, agents, and assigns fully and finally release, waive,

and forever discharge: (a) the United States, its agencies, officers, agents, employees,

and servants, from any claims arising from the filing of the Civil Actions or under 31

U.S.C. § 3730, and from any claims to a share of the proceeds of this Agreement and/or

the Civil Actions; (b) the Intervened States, their agencies, officers, agents, employees,

and servants, from any claims arising from the filing of the Civil Actions or under the

State False Claims Acts, and from any claims to a share of the proceeds of this

Agreement and/or the Civil Actions; and (c) the Non-Intervened States, their agencies,

officers, agents, employees, and servants, from any claims arising from the filing of the

Civil Actions or under the State False Claims Acts, and from any claims to a share of the

proceeds of this Agreement and/or the Civil Actions.

       17.     Conditioned upon receipt of the payments described in Paragraph 3,

Relators, for themselves and for their heirs, successors, attorneys, agents, and assigns,

release EDMC, and its officers, agents, and employees, from any liability to Relators

arising from the filing of the Civil Actions, or under 31 U.S.C. § 3730(d) for expenses or

attorney’s fees and costs.

       18.     EDMC has provided sworn financial disclosure statements and various

financial materials (collectively “Financial Statements”) to the United States and/or the

Intervened States and the United States, the Intervened States and the Non-Intervened



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States have relied on the accuracy and completeness of those Financial Statements in

reaching this Agreement. EDMC warrants that the Financial Statements are complete,

accurate, and current as of the time that such Financial Statements were provided to the

United States and/or the Intervened States.       EDMC also provided future financial

projections and forecasts through fiscal year 2019.      If the United States and/or the

Intervened States and/or the Non-Intervened States learn of asset(s) in which EDMC had

an interest at the time of this Agreement that were not disclosed in the Financial

Statements, or if the United States and/or the Intervened States and/or the Non-Intervened

States learn of any misrepresentation by EDMC on, or in connection with, the Financial

Statements, and if such nondisclosure or misrepresentation changes the estimated net

worth set forth in the Financial Statements by $5,000,000 (Five Million Dollars) or more,

the United States and/or the Intervened States and/or the Non-Intervened States may: (a)

rescind this Agreement and file suit or reinstate their suits based on the Covered Conduct,

or (b) let the Agreement stand and pursue an action to collect the full Settlement Amount

owing as of such date, in accordance with Exhibit A, plus one hundred percent (100%) of

the value of the net worth of EDMC previously undisclosed. Absent circumstances

requiring immediate action, such as dissolution or dissipation of assets, the United States

agrees to provide written notice to EDMC, and to provide twenty (20) days for EDMC to

respond to the United States before taking action to rescind this Agreement or

undertaking a collection action pursuant to this Paragraph. EDMC agrees not to contest

any collection action undertaken by the United States and/or the Intervened States and/or

the Non-Intervened States pursuant to this provision, and immediately to pay the United




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States and/or the Intervened States and/or the Non-Intervened States all reasonable costs

incurred in such an action, including attorney’s fees and expenses.

       19.     In the event that the United States and/or the Intervened States and/or the

Non-Intervened States, pursuant to Paragraph 18 (concerning disclosure of assets), above,

opts to rescind this Agreement, EDMC agrees not to plead, argue, or otherwise raise any

defenses under the theories of statute of limitations, laches, estoppel, or similar theories,

to any civil or administrative claims that (a) are filed by the United States and/or the

Intervened States and/or the Non-Intervened States within 90 calendar days of written

notification to EDMC that this Agreement has been rescinded, and (b) relate to the

Covered Conduct, except to the extent these defenses were available on the particular

date when each Civil Action referenced in Recital Paragraphs B-E was filed.

       20.     EDMC waives and shall not assert any defenses EDMC may have to any

criminal prosecution or administrative action relating to the Covered Conduct that may be

based in whole or in part on a contention that, under the Double Jeopardy Clause in the

Fifth Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth

Amendment of the Constitution, this Agreement bars a remedy sought in such criminal

prosecution or administrative action. Nothing in this Paragraph or any other provision of

this Agreement constitutes an agreement by the United States and/or the Intervened

States and/or the Non-Intervened States concerning the characterization of the Settlement

Amount for purposes of the Internal Revenue laws, Title 26 of the United States Code.

       21.     EDMC fully and finally releases the United States, the Intervened States,

and the Non-Intervened States, their agencies, officers, agents, employees, and servants,

from any claims (including attorney’s fees, costs, and expenses of every kind and



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however denominated) that EDMC has asserted, could have asserted, or may assert in the

future against the United States and/or the Intervened States and/or the Non-Intervened

States, their agencies, officers, agents, employees, and servants, related to the Covered

Conduct and the United States’ and/or Intervened States’ and/or the Non-Intervened

States’ investigation and prosecution thereof.

       22.     EDMC fully and finally releases the Relators, their heirs, successors,

attorneys, agents, and assigns from any claims (including attorney’s fees, costs, and

expenses of every kind and however denominated) that EDMC has asserted, could have

asserted, or may assert in the future against the Relators, related to the Civil Actions and

the Relators’ investigation and prosecution thereof, and from any liability, claims,

demands, actions, or causes of action whatsoever existing as of the Effective Date of this

Agreement, whether known or unknown, fixed or contingent, in law or in equity, in

contract or tort, of any kind or character, for damages, statutory penalties, equitable relief

or otherwise, including attorneys’ fees, costs, and expenses of every kind and however

denominated, that EDMC would have standing to bring against Relators, or any Relator.

       23.     a.      Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. § 31.205-47) incurred by or on behalf of EDMC, and

its present or former officers, directors, employees, shareholders, and agents in

connection with:

                       (1)     The matters covered by this Agreement;

                       (2)     The United States’ and/or Intervened States’ and/or the

                               Non-Intervened States’ audit(s) and civil investigation(s) of

                               the matters covered by this Agreement;



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                      (3)    EDMC’s investigation, defense, and corrective actions

                             undertaken in response to the United States’ and/or

                             Intervened States’ and/or Non-Intervened States’ audit(s)

                             and civil investigation(s) in connection with the matters

                             covered by this Agreement (including attorney’s fees);

                      (4)    The negotiation and performance of this Agreement;

                      (5)    The payments EDMC makes to the United States and/or

                             Intervened States and/or Non-Intervened States pursuant to

                             this Agreement,

are unallowable costs for government contracting purposes (hereinafter referred to as

Unallowable Costs).

               b.     Future Treatment of Unallowable Costs: Unallowable Costs will

be separately determined and accounted for by EDMC, and EDMC shall not charge such

Unallowable Costs directly or indirectly to any contract with the United States and/or the

Intervened States and/or the Non-Intervened States.

               c.     Treatment of Unallowable Costs Previously Submitted for

Payment: Within 90 days of the Effective Date of this Agreement EDMC shall identify

and repay by adjustment to future claims for payment or otherwise any Unallowable

Costs included in payments previously sought by EDMC or any of its subsidiaries or

affiliates from the United States and/or the Intervened States and/or the Non-Intervened

States.   EDMC agrees that the United States and/or Intervened States and/or Non-

Intervened States, at a minimum, shall be entitled to recoup from EDMC any

overpayment plus applicable interest and penalties as a result of the inclusion of such



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Unallowable Costs on previously-submitted requests for payment. The United States,

including the Department of Justice and/or the affected agencies, and the Intervened

States and Non-Intervened States, reserve their rights to audit, examine, or re-examine

EDMC’s books and records and to disagree with any calculations submitted by EDMC or

any of its subsidiaries or affiliates regarding any Unallowable Costs included in payments

previously sought by EDMC, or the effect of any such Unallowable Costs on the amount

of such payments.

       24.       EDMC warrants that it has reviewed its financial situation and that it

currently is solvent within the meaning of 11 U.S.C. §§ 547(b)(3) and 548(a)(1)(B)(ii)(I),

and shall remain solvent following payment to the United States of the Settlement

Amount.      Further, the Parties warrant that, in evaluating whether to execute this

Agreement, they (a) have intended that the mutual promises, covenants, and obligations

set forth constitute a contemporaneous exchange for new value given to EDMC, within

the meaning of 11 U.S.C. § 547(c)(1), and (b) conclude that these mutual promises,

covenants, and obligations do, in fact, constitute such a contemporaneous exchange.

Further, the Parties warrant that the mutual promises, covenants, and obligations set forth

herein are intended to and do, in fact, represent a reasonably equivalent exchange of

value that is not intended to hinder, delay, or defraud any entity to which EDMC was or

became indebted to on or after the date of this transfer, within the meaning of 11 U.S.C. §

548(a)(1).

       25.     If within 91 days of the Effective Date of this Agreement or of any

payment made under this Agreement, EDMC commences, or a third party commences,

any case, proceeding, or other action under any law relating to bankruptcy, insolvency,



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reorganization, or relief of debtors (a) seeking to have any order for relief of EDMC’s

debts, or seeking to adjudicate EDMC as bankrupt or insolvent;              or (b) seeking

appointment of a receiver, trustee, custodian, or other similar official for EDMC or for all

or any substantial part of EDMC’s assets, EDMC agrees as follows:

       a.      EDMC’s obligations under this Agreement may not be avoided pursuant

to 11 U.S.C. § 547, and EDMC shall not argue or otherwise take the position in any such

case, proceeding, or action that: (i) EDMC’s obligations under this Agreement may be

avoided under 11 U.S.C. § 547; (ii) EDMC was insolvent at the time this Agreement was

entered into, or became insolvent as a result of the payments made to the United States;

or (iii) the mutual promises, covenants, and obligations set forth in this Agreement do not

constitute a contemporaneous exchange for new value given to EDMC.

       b.      If EDMC’s obligations under this Agreement are avoided for any reason,

including, but not limited to, through the exercise of a trustee’s avoidance powers under

the Bankruptcy Code, the United States and/or the Intervened States and/or the Non-

Intervened States, each at its sole option, may rescind the releases in this Agreement and

bring any civil and/or administrative claim, action, or proceeding against EDMC for the

claims that would otherwise be covered by the releases provided in Paragraphs 12, 13,

and 14, above. EDMC agrees that (i) any such claims, actions, or proceedings brought by

the United States and/or the Intervened States and/or the Non-Intervened States are not

subject to an “automatic stay” pursuant to 11 U.S.C. § 362(a) as a result of the action,

case, or proceedings described in the first clause of this Paragraph, and EDMC shall not

argue or otherwise contend that the United States’ and/or Intervened States’ and/or Non-

Intervened States’ claims, actions, or proceedings are subject to an automatic stay; (ii)



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EDMC shall not plead, argue, or otherwise raise any defenses under the theories of

statute of limitations, laches, estoppel, or similar theories, to any such civil or

administrative claims, actions, or proceedings that are brought by the United States

and/or the Intervened States and/or the Non-Intervened States within 90 calendar days of

written notification to EDMC that the releases have been rescinded pursuant to this

Paragraph, except to the extent such defenses were available on the particular date when

each Civil Action referenced in Recital Paragraphs B-E was filed; and (iii) the United

States, the Intervened States and Non-Intervened States have a valid claim against EDMC

for treble damages and civil penalties, and the United States and the Intervened States

and the Non-Intervened States may pursue its claim in the case, action, or proceeding

referenced in the first clause of this Paragraph, as well as in any other case, action, or

proceeding.

       c.      EDMC acknowledges that its agreements in this Paragraph are provided in

exchange for valuable consideration provided in this Agreement.

       26.     This Agreement is intended to be for the benefit of the Parties only.

       27.     Upon receipt of the initial payment described in Paragraph 1 a., above, the

United States, Intervened States and/or Relators shall promptly sign and file in the Civil

Actions Joint Stipulations of Dismissal of the Civil Actions pursuant to Rule 41(a)(1).

The Dismissals by the United States and the Intervened States in the Washington Civil

Action shall be with prejudice. The Dismissals by Relators shall be with prejudice as to

all claims asserted by the Relators in the Civil Actions, including but not limited to

claims asserted on behalf of the United States and/or Non-Intervened States as to the

Covered Conduct in actions in which the United States and/or Non-Intervened States did



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not intervene. The Non-Intervened States consent to Relators’ dismissal with prejudice

of all claims asserted on their behalf in the Washington Civil Action. The United States

consents to Relators’ dismissal with prejudice of all claims asserted on the United States’

behalf in the Sobek Civil Action, the Laukaitis Civil Action and the Rainwater Civil

Action.

          28.   Except as otherwise provided for in this agreement, each Party shall bear

its own legal and other costs incurred in connection with this matter, including the

preparation and performance of this Agreement.

          29.   Each Party and signatory to this Agreement represents that it freely and

voluntarily enters in to this Agreement without any degree of duress or compulsion.

          30.   This Agreement is governed by the laws of the United States. With the

exception of Paragraphs 7 through 10 of this Agreement, the exclusive jurisdiction and

venue for any dispute relating to this Agreement is the United States District Court for

the Western District of Pennsylvania. For purposes of construing this Agreement, this

Agreement shall be deemed to have been drafted by all Parties to this Agreement and

shall not, therefore, be construed against any Party for that reason in any subsequent

dispute.

          31.   This Agreement constitutes the complete agreement between the Parties.

This Agreement may not be amended except by written consent of the Parties.

          32.   The undersigned counsel represent and warrant that they are fully

authorized to execute this Agreement on behalf of the persons and entities indicated

below.




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       33.       This Agreement may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Agreement.

       34.       This Agreement is binding on EDMC’s successors, transferees, heirs, and

assigns.

       35.       This Agreement is binding on Relators’ successors, transferees, heirs, and

assigns.

       36.       All parties consent to the United States’, Intervened States’ and Non-

Intervened States’ disclosure of this Agreement, and information about this Agreement,

to the public.

       37.       This Agreement is effective on the date that the United States provides

notice to EDMC of the signature of the last signatory to the Agreement (Effective Date of

this Agreement). Such notice shall be made an addendum to this Agreement. Facsimiles

and Portable Document Format (PDF) copies of signatures shall constitute acceptable,

binding signatures for purposes of this Agreement.




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                       THE UNITED STATES OF AMERICA




                                Unile . \'ates Attorney
                                \\lestem District of Pennsylvania


DATED: - - - -
                                DAVlDRlVERA
                                United Stntes Attorney
                                Middle District of Tennessee

                                BENJAMIN C. MIZER



DATED:.   fl/t~ /Jri

                                Attorneys, United Slates Dcpnnmcnt or Justice



             . UNITED STATE                                         N


DATED:    //-9-,$/'5
                                   ·er Operating Of ccr
                                   Tice of Federal Student Aid
                                 United States Department of Education




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               TIIE UNITED STATES OF AMERICA


DATED:             BY: - - - - -
                         DAVID J. HICKTON
                           United States Attorney
                           Western District of Pennsylvania


DATED: - - -       BY:                        .....................- - · - · - - -
                          DA vrn RIVERA
                          United Stntes Attorney
                          Mi<ldle District of Tennessee

                           BENJAMIN C. MIZER
                     '.   Pri~~tanl AHorncy General


                   BY.•~t~o/~·
                           JAY b. J'v1AJORS
                           Attorneys, United States Department                       or Justice




                          ·United States Department of Education
      Case 20-50627-CTG      Doc 91-4       Filed 02/15/22           Page 35 of 63




                  THE UNITED STATES OF AMERICA


DATED : - - - -
                                DA YID J. HICKTON
                                United States Attorney
                                Western District~o~..............~


DATED: N~v. ~ ,2 1/ S-
              ,
                                DAVID RIVERA
                                United States Attorney
                                Middle District of Te1U1essee

                         BENJAMIN C. MIZER
                         Principal Deputy Assistant Attorney General


DATED: - - - -           BY : - - - - - - - - - - - - -
                                MICHAEL D. GRANSTON
                                RENEE BROOKER
                                JAY D. MAJORS
                                Attorneys, United States Department of Justice



            UNITED STATES DEPARTMENT OF EDUCATION


DATED:                   BY: - -- - - - - - - - - - -
                              JAMES W. RUNCIE
                              Chi ef Operating Officer
                              Office of Federal Student Aid
                              United States Department of Education




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                         INTERVENED STATES


                         STATE OF CALIFORNIA

Dated:   ~\.,,,,. r~ ,201s           KAMALA D. HARRIS
                                     ATTORNEY GENERAL OF CALIFORNIA


                               By:
                                     Courtney Towle
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                                     California Department of Justice
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                                     San Francisco, CA 94102
                                     courtney. towle@doj.ca.gov
                                     Office: 415-703-5510




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                          STATE OF FLORIDA


Dated:~~ j 'ti., 2015              PAM BONDI
                                   ATTORNEY GENERAL OF FLORIDA


                             By:   ~·~
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                                   Office of the Attorney General
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                                   (850) 414-3300
                                   Fax: (850) 488-4483
                                   Mark.Hamilton@myfloridalegal.com
                                   Counsel for Plaintiff State of Florida




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                               STATE OF ILLINOIS


Lisa Madigan
Attorney G~n;al of Illinois


By: /~ ----                                                     1_?--+-/_µ_ 15_.--_
                                                          l I,,__
                                                  Date: _ _   /

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             Case 20-50627-CTG    Doc 91-4   Filed 02/15/22     Page 39 of 63




                                STATE OF INDIANA


Dated:   /it"-1 ber 1,
         '
                         2015            GREGORY . ZOELLER
                                         ATTORl'~GENERAL OF INDIANA

                                  By:   /l
                                         p           ORLOFF ERDMANN
                                         Deputy Attorney General and
                                         Chief Counsel for Litigation
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                                         Email: patricia.erdmann@atg.in.gov
                                         Counsel for Plaintiff State of Indiana




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                         STATE OF MINNESOTA


Dated:    11 /IL       2015               LORI SWANSON
                                          Attorney General
                                          State of Minnesota



                                 By:

                                         Assistant Attorney General
                                         Atty. Reg. No. 0391772
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                                         (651) 757-1147 (Voice)
                                         (651) 296-1410 (TTY)




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              NON-INTERVENED STATES

            COMMONWEALTH OF KENTUCKY


                               JACK CONWAY
                               KENTUCK~;~~y GENERAL

                      By:
                               Todd E. Leatherman
                               Executive Director
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                               Office of the Attorney General
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                               Frankfort, KY 40601
                               (502) 696-5384
                               Todd.leatherma@ky.gov

                               Attorney for the Commonwealth ofKentucky




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                 COMMONWEALTH OF MASSACHUSETTS


Dated:       tD/2
               r
                  3 ,2015               MAURA HEALEY
                                        ATTORNEY GENERAL


                               By:
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                                        Assistant Attorney General
                                        Office of the Attorney General
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                                        Boston, MA 02108
                                        617-963-2453
                                        Glenn.kaplan@state.ma. us




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                      THE DISTRICT OF COLUMBIA


Dated: ~eJ'YlbU   9 , 2015               KARL A. RACINE
                                         Attorney General for the District of
                                         Columbia

                                         SARAH ELIZABETH GERE
                                         Acting Deputy Attorney General
                                         Public Interest Division


                                By:      4        . ft~~~
                                         BENNETT RUSHKOFF
                                         D.C. Bar No. 386925
                                         Chief, Public Advocacy Section


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                                          Attorneys for the District of Columbia




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         Case 20-50627-CTG        Doc 91-4    Filed 02/15/22   Page 44 of 63




                              STATE OF MONTANA

Dated:   1i;?'f~'llbcr ~ , 2015           TIM FOX
                                          ATTORNEY GENERAL OF MONTANA
                                                          -          / ,.      ~




                                   By:             . (£/
                                          Andres Hpl~
                                                                 1


                                          Deputy Attorney Genera('
                                          Office of Consumer Protection
                                          Montana Department of Justice
                                          555 Fuller Ave
                                          P.O. Box 200151
                                          Helena, MT 59620




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         Case 20-50627-CTG   Doc 91-4    Filed 02/15/22   Page 45 of 63



                        STATE OF NEW JERSEY


Dated:   Nw.    \0   '2015           JOHN J. HOFFMAN

                                                             v
                                     ACTING ATTORNEY GENERAL OF
                                     N0!~RSEY

                              By:        ~
                                     Nicholas Kant
                                                          /dcfJ\
                                     Deputy Attorney General
                                     Government and Healthcare Fraud Section
                                     New Jersey Division of Law
                                     Department of Law & Public Safety
                                     124 Halsey Street - 5th Floor
                                     P.O. Box 45029
                                     Newark, New Jersey 07101




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         Case 20-50627-CTG     Doc 91-4     Filed 02/15/22   Page 46 of 63



                       THE STATE OF NEW MEXICO

Dated:    \\ ( \   3   '2015              HECTOR BALDERAS
                                          New Mexico Attorney General




                                          Assistant Attorney General
                                          New Mexico Attorney General's Office
                                          408 Galisteo Street
                                          Santa Fe, NM 87501
                                          (505) 827-6469




                                      43
       Case 20-50627-CTG     Doc 91-4         Filed 02/15/22   Page 47 of 63




                        THE STATE OF NEW YORK

Dated: ___11/13___________, 2015          ERIC T. SCHNEIDERMAN
                                          New York State Attorney General



                                   BY:    ____________________________
                                          Gregory M. Krakower
                                          Assistant Attorney General
                                          Office of the New York Attorney General
                                          Taxpayer Protection Bureau
                                          120 Broadway, 22nd Floor
                                          New York, New York 10271
                                          (212) 416-6012




                                         44
    Case 20-50627-CTG        Doc 91-4    Filed 02/15/22   Page 48 of 63




                            STATE OF TENNESSEE

                                 FOR THE STATE OF TENNESSE, ATTORNEY
                                 GENERAL:

DATED   I"
         I
             f.,,. /~of~ ,2015
                1


                                 BY:

                                        Herbert H. Slatery III
                                        Tennessee Attorney Gener I



                                        ~~r~tidu.<I')
                                        Senior ounsel
                                        Public Interest Division
                                        Office of the Attorney General and Reporter
                                        P.O. Box 20207
                                        Nashville, TN 37202-0207



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         Case 20-50627-CTG     Doc 91-4     Filed 02/15/22   Page 49 of 63




                                DEFENDANTS



DATED:    l\/\~/15"             BY:       ~~A.n~1~
                                       Mf\;k. McEachen
                                       President and Chief Executive Officer
                                       Education Management Corporation


DATED:   ffiol~                  BY:      ~D,~
                                       Carol DiBattiste
                                       EVP, Chief Legal, Privacy, Security, and
                                       Administrative Officer
                                       Education Management Corporation


DATED:    "/1':)./15'            BY:
                                          JM±!~
                                          SVP, General Counsel and Secretary
                                          Education Management Corporation


DATED:   !i/JjLJ                 BY:
                                                       artyn
                                          Cozen 0 ' Connor
                                          Counsel for Education Management
                                          Corporation


DATED:    ' \ )rz..}i___   .     BY:        ~\U:Ll,{J)u - ~~~~
                                          Laura E. Ellsworth
                                          Jones Day
                                          Counsel for Education Management
                                          Corporation




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      Case 20-50627-CTG   Doc 91-4     Filed 02/15/22   Page 50 of 63




              RELATORS - WASHINGTON CIVIL ACTION


DATED: 10/21 /15           BY:
                                 L
                                      0~~
                                      YNNfuYA~SHINGTON
                                 Relator

DATED: _ __                BY:
                                 MICHAEL MAHONEY
                                 Relator

DATED: _ __                BY:
                                  Thomas J. Farrell, Esq.
                                  PA I.D. No. 48976
                                  FARRELL & REISINGER, LLC
                                  300 Koppers Building
                                  436 Seventh A venue
                                  Pittsburgh,PA 15219-1827
                                  412-894-1380
                                  Counsel for Relators Washington and
                                  Mahoney

DATED: _ _ __              BY:
                                  Harry P. Litman
                                  PA ID No. 51634
                                  Litman Law Firm
                                  One Oxford Centre
                                  301 Grant Street
                                  Pittsburgh, PA 15219
                                  (412) 456-2000
                                  Counsel for Relators Washington and
                                  Mahoney

DATED: _ _ __              BY:
                                  H. Yale Gutnick, Esq.
                                  Trent A. Echard, Esq.
                                  Strassburger McKenna Gutnick & Gefsky
                                  Four Gateway Center, Suite 2200
                                  444 Liberty A venue
                                  Pittsburgh, PA 15222
                                  412-281-5423
                                  Counsel for Relators Washington and
                                  Mahoney




                                 47
 Case 20-50627-CTG    Doc 91-4      Filed 02/15/22       Page 51 of 63




              RELATORS-WASIHNGTONCJ.Vll, ACTION


DATED: _ __              BY:
                                 LYNNTOYA WASHINGTON
                                 RelatQt

DATED:   Jof1/1:>        BY:
                                 . ICHAEL MAHONEY
                                 Relator

DATEP: _ _ __            BY:
                                 11ioma:s J. Farrell, Esq.
                                 PA LD. No. 48976
                                 FARR.ELL & REISINGER, LLC
                                 300 Koppers Building
                                 436 Seve!:)tb .Avenue
                                 Pittsburgh, PA 15219-1827
                                 412-894-1380
                                 Counsel for Refators Washington and
                                 Mahoney

DATED: _ __              BY:
                                 Harry P. Litman
                                 PA ID No. 51634
                                 Litman Law Finn
                                 One Oxford Centre
                                 301 Grant Street
                                 Pittsburgh, PA 15219
                                 (412) 456,,2.000
                                 CoU!;lSeJ for Relators Washin:gt~n and
                                 Mahoney

DATED:~JS                BY:
                                   . Yale o ck, Es
                                 Trent A. · hard, E .
                                 Strassburger Mc.Kenna Gutnick & Gefsky
                                 Four Gateway Center, Suire 2200
                                 444 Liberty Avenue
                                 Pittsburgh, PA 15222
                                 412.;281-5423
                                 Counsel for Relatots Washington and
                                 Mahoney




                               47
      Case 20-50627-CTG   Doc 91-4      Filed 02/15/22    Page 52 of 63




              RELATORS- WASHINGTON CIVIL ACTION

DATED: _ __               BY:
                                 LYNNTOYA WASHINGTON
                                 Relator
DATED: _ __               BY:
                                 MICHAEL MAHONEY

                                 Rd-                 ~
                          BY:~
                            masJ:F8l'1'e[ Esq.
                                 PAI.D. No. 48976
                                 FARRELL & REISINGER, LLC
                                 300 Koppers Building
                                 436 Seventh Avenue
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                                 412-894-1380
                                 Counsel for Relators Washington and
                                 Mahoney
DATED: _ __               BY:
                                 Harry P. Litman
                                 PA ID No. 51634
                                 Utman Law Firm
                                 One Oxford Centre
                                 301 Grant Street
                                 Pittsbmgh, PA 15219
                                 (412) 456-2000
                                 Counsel for Relators Washington and
                                 Mahoney
DATED: _ __               BY:
                                 H. Yale Gutnick, Esq.
                                 Trent A. Echard, Esq.
                                 Strassburger McKenna Gutnick & Gefsky
                                 Four Gateway Center, Suite 2200
                                 444 Liberty Avenue
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                                 412-281-5423
                                 Counsel for Relators Washington and
                                 Mahoney




                                47
      Case 20-50627-CTG   Doc 91-4   Filed 02/15/22    Page 53 of 63




              RELATORS- WASHINGTON CIVIL ACTION


DATED: _ __               BY:
                                LYNNTOYA WASHINGTON
                                Relator

DATED: _ __               BY:
                                MICHAEL MAHONEY
                                Relator

DATED: _ __               BY:
                                Thomas J. Farrell, Esq.
                                PA I.D. No. 48976
                                FARRELL & REISINGER, LLC
                                300 Koppers Building
                                436 Seventh Avenue
                                Pittsburgh,PA 15219-1827
                                412-894-1380
                                Counsel for Relators Washington and

                                M~::....--­
DATED/qlz!fr              BY:
                                ~an
                                PA ID No. 51634
                                Litman Law Finn
                                One Oxford Centre
                                301 Grant Street
                                Pittsburgh, PA 15219
                                (412) 456-2000
                                Counsel for Relators Wasbington and
                                Mahoney
DATED: _ __               BY:
                                H. Yale Gutnick, Esq.
                                Trent A. Echard, Esq.
                                Strassburger McKenna Gutnick & Gefsky
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                                444 Liberty Avenue
                                Pittsburgh, PA 15222
                                412-281-5423
                                Cowisel for Relators Washington and
                                Mahoney




                                47
Case 20-50627-CTG   Doc 91-4     Filed 02/15/22      Page 54 of 63




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                            McKool Smith, P.C.
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                            Counsel for Relators Washington and


                     BY:

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                            djc@goldbeTIJkqbn.com
                            wcm@goldbergkohn.com
                            Previously Counsel of Record for Rclaton
                            Washington and Mahoney




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   Case 20-50627-CTG     Doc 91-4        Filed 02/15/22   Page 55 of 63




                    RELATORS-SOBBKCIVJL ACTION


DATED:   Jo/~d./ ~o\5"      BY:
                                    fuONSOBEK
                                     Rdator



DATED:   JO/ll/IS           BY:          &:--6::
                                     Christopher Casper, Esquire
                                     JAMES, HO~ NEWCOMER &
                                     SMIUANIC~ P.A.
                                     4830 West Kennedy Boulev~ Suite 550
                                     T8JD1>8t FL 33609
                                     Counsel to Relator Sobek

DATED: _ __                 BY:
                                     Andrew M. Stone, Elw)uire
                                     STONE LAW FIRM, LLC
                                     437 Grant Street, Suite 1806
                                     Pittsburgh. PA 15219
                                     Counsel to Relator Sobek




                                    49
        Case 20-50627-CTG   Doc 91-4    Filed 02/15/22   Page 56 of 63




                    RELATOR.~--SOB~K GIVIL A~IlQN


DATED: ________              BY:
                                   JASON SOBEK
                                   Relator



DATED: __________            BY:




                             BY:
                                            M. Stone, Esquire
                                            LAW FIRM, LLC
                                   437 Grant Street, Suite 1806
                                   Pittsburgh, PA 15219
                                   Counsel to Relator Sobek




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    Case 20-50627-CTG     Doc 91-4      Filed 02/15/22   Page 57 of 63




                  RELATORS - LAUKAITIS CIVIL ACTION

DATED:   10/J.Jl ~t!f{       BY:        cii~~ d.~
                                     MICHAEL LAUKAITIS
                                     Relator

DATED:   /of JJ/JtJ/(        BY:
                                         ~-~
                                     GREGOC~TER
                                     Relator

DATED: _ __                  BY:
                                     OKSANA HISER
                                     Relator

DATED: _ __                  BY:
                                     GARLAND RICHIE
                                     Relator

DATED: _ __                  BY:
                                     SEAN A. LARDO
                                     Relator

DATED:   ---                 BY:
                                     JACK BORING
                                     Relator

DATED: _ __                  BY:
                                     CHANEL DENNIS
                                     Relator

DATED: _ _ __                BY:
                                     Alan H. Perer
                                     SWENSEN PERER & KONTOS
                                     One Oxford Centre, Suite 2501
                                     Pittsburgh, PA 15222
                                     Counsel to Laukaitis Relators

DATED: _ _ __                BY:
                                     James B. Lieber
                                     Pa. Id. #21748
                                     LIEBER HAMMER HUBER &
                                     BENNINGTON, P.C.
                                     5528 Walnut Street
                                     Pittsburgh, PA 15232
                                     Counsel to Laukaitis Relators



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    Case 20-50627-CTG    Doc 91-4      Filed 02/15/22   Page 58 of 63




                 RELATORS - LAUKAITIS CIVIL ACTION
'
DATED: _ __                 BY:
                                    MICHAEL LAUKAITIS
                                    Relator

DATED: _ __                 BY:
                                    GREGORY CARTER
                                    Re lator

DATED:   lo(aj?Oc s-        BY:   ClilUge ~
                                    OKSANA HISER
                                    Relator

DATED: _ __                 BY:
                                    GARLAND RICHIE
                                    Relator

DATED: _ __                 BY:
                                    SEAN A. LARDO
                                    Relator

DATED: _ __                 BY:
                                    JACK BORING
                                    Relator

DATED: _ __                 BY:
                                    CHANEL DENNIS
                                    Relator

DATED: _ __                 BY:
                                    Alan H. Perer
                                    SWENSEN PERER & KONTOS
                                    One Oxford Centre, Suite 2501
                                    Pittsburgh, PA 15222
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DATED: _ _ __               BY:
                                    James B. Lieber
                                    Pa. Id. #21748
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                                    BENNINGTON, P.C.
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                                  50
    Case 20-50627-CTG   Doc 91-4     Filed 02/15/22   Page 59 of 63




              RELATORS -LAUKAITJS CIVIL ACTION

DATED: _ __               BY:
                                   MICHAEL LAUKAITIS
                                   Relator

DATED: _ __               BY:
                                   GREGORY CARTER
                                   Relator

DATED: _ __               BY:
                                   OKSANA HISER
                                   Relator

DATED:~5                  BY:       ~~
                                cl.~~-,-~
                                t
                                   GARLAND RICHIE
                                   Relator

DATED: _ __               BY:
                                   SEAN A. LARDO
                                   Relator

DATED: _ __               BY:
                                   JACK BORING
                                   Relator

DATED: _ __               BY:
                                   CHANEL DENNIS
                                   Relator

DATED: _ __               BY:
                                   Alan H. Perer
                                   SWENSEN PERER & KONTOS
                                   One Oxford Centre, Suite 2501
                                   Pittsburgh, PA 15222
                                   Counsel to Laukaitis Relators

DATED: _ __               BY:
                                   James B. Lieber
                                   Pa. Id. #21748
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                                   BENNINGTON, P.C.
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                                   Pittsburgh, PA 15232
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    Case 20-50627-CTG   Doc 91-4     Filed 02/15/22   Page 60 of 63




             RELATORS - LA UKAJTIS CIVIL ACTION

DATED:                    BY:
                                   MICHAEL LAUKAITIS
                                   Relator

DATED:                    BY:
                                   GREGORY CARTER
                                   Relator

DATED:                    BY:
                                   OKSANA HISER
                                   Relator

DATED:                    BY:
                                   GARLAND RICHIE
                                   Relator

DATED:~                   BY:        . A7?
                                   SEAN A. LARDO
                                   Re lator

DATED:                    BY:
                                   JACK BORING
                                   Relator

DATED:                    BY:
                                   CHANEL DENNIS
                                   Relator

DATED:                    BY:
                                   Alan H. Perer
                                   SWENSEN PERER & KONTOS
                                   One Oxford Centt:e, Suite 2501
                                   Pittsburgh, PA 15222
                                   Counsel to Laukaitis Relators

DATED:                    BY:
                                   James B. Lieber
                                   Pa. Id. #21748
                                   LIEBER HAMMER HUBER &
                                   BENNINGTON, P.C.
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    Case 20-50627-CTG      Doc 91-4      Filed 02/15/22   Page 61 of 63




                   RELATORS -LAUKAITIS CIVIL ACTION

DATED: _ __                  BY:
                                      MICHAEL LAUKAITIS
                                      Relator

DATED: _ __                  BY:
                                      GREGORY CARTER
                                      Relator

DATED: _ __                  BY:
                                      OKSANA HISER
                                      Relator

DATED: _ __                  BY:
                                      GARLAND RICHIE
                                      Relator

DATED: _ __                  BY:
                                      SEAN A. LARDO


DATED:   ;o lz.~ /1,$        BY:~'            BORING                  ~
                                         elator

DATED: _ __                  BY:
                                      CHANEL DENNIS
                                      Relator

DATED: _ _ __                BY:
                                      Alan H. Perer
                                      SWENSEN PERER & KONTOS
                                      One Oxford Centre, Suite 2501
                                      Pittsburgh, PA 15222
                                      Counsel to Laukaitis Relators

DATED: _ __                   BY:
                                      James B. Lieber
                                      Pa. Id. #21748
                                      LIEBER HAMMER HUBER &
                                      BENNINGTON, P.C.
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                                      Pittsburgh, PA 15232
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    Case 20-50627-CTG   Doc 91-4       Filed 02/15/22   Page 62 of 63




              RELATORS-LAUKAITIS CIVIL ACTION

DATED: _ __               BY:
                                   MICHAEL LAUKAITIS
                                   Relator

DATED: _ __               BY:
                                   GREGORY CARTER
                                   Relator

DATED: _ __               BY:
                                   OKSANA HISER
                                   Relator

DATED: _ __               BY:
                                   GARLAND RICHIE
                                   Relator

DATED: _ __               BY:
                                   SEAN A. LARDO
                                   Relator

DATED: _ __               BY:
                                   JACK BORING
                                   Relator

DATED: !Oft.if~           BY:      ~(}D~
                                   CHANEL DENN


DATED:lt/?jtt'            BY:
                                   Alan H. Perer
                                   SWENSEN PERER & KONTOS
                                   One Oxford Centre, Suite 2501
                                   Pittsburgh, PA 15222


DATED:~                   BY:
                                   Counsel    ;r;:::tl-;;,'/!(L
                                   J     es B. Lieber
                                       a. Id. #21748
                                   LIEBER HAMMER HUBER &
                                   BENNINGTON, P.C.
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                                   Pittsburgh, PA 15232
                                   Counsel to Laukaitis Relators



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  Case 20-50627-CTG      Doc 91-4     Filed 02/15/22      Page 63 of 63




                 RILATOBB-MINW4TER COOL ACTION
DAmD:    !!.f:=._/.1S:     BY~~
                            DR. RAtNWATER
                                  Relator


DATED:   jO/XJj/S



DATED: I   o/J3fo                 Jamie M. Bennett
                                  TIIE SHEPARD          WFTRM, LLC
                                  1406'8 Crain Highway South. Sujte l<rl
                                  Olen Bumlc, MD 21061



                           BY:
                                 :::~
                                 ~---
                                  ASHCRAFT&: GBRBL, LLP
                                  4301 Garden City Drive. Suite 301
                                  Landover,, MD 20785
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